      Case 3:20-cr-00380-B Document 24 Filed 10/02/20 Page 1 of 1 PageID 124
                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA,                       §
   Plaintiff,                                    §
                                                 §                  CRIMINAL ACTION NO:
 v.                                              §                          3:20-CR-380-B
                                                 §
 JASON SHEROD BALDWIN,                           §
   Defendant.                                    §


          ORDER GRANTING DEFENDANT’S MOTION FOR CONTINUANCE

         Defendant JASON SHEROD BALDWIN, through counsel, has filed an Unopposed
Motion for Continuance of Trial and Pretrial Deadlines (doc. 23). Said motion, in accordance
with the findings set forth below, on this October 2, 2020, is GRANTED.

         In accordance with 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), the Court finds that the ends
of justice served by granting this motion for continuance outweigh the best interest of the public
and the defendant in a speedy trial. In this regard, the Court has considered factors which indicate
that its failure to grant this motion would deny counsel for defendant reasonable time necessary
for effective preparation, taking into account the exercise of due diligence. Therefore, any period
of delay resulting from this Court's granting the motion for continuance shall be excluded in
computing the time within which the trial of this cause must commence under 18 U.S.C. § 3161.

         Accordingly, it is ORDERED that the captioned case is set for trial on January 11, 2021 at
9:00 a.m. Pretrial motions, if any, are due November 30, 2020, and responses thereto are due
December 14, 2020. Pretrial materials are due December 28, 2020. The pretrial conference will
be set for January 8, 2021 at 10:00 a.m.

         SO ORDERED.

         SIGNED: October 2, 2020.




                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE
